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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 TREVOR KELLEY

                      Plaintiff,                            JUDGMENT IN A CIVIL CASE

 v.                                                    Case No. 2:17-cv-00787-JNP-BCW

 EUROPEAN TANNING                                      District Judge Jill N. Parrish
 d.b.a EUROPEAN TAN,                                   Magistrate Judge Brooke C. Wells

                     Defendant.


         Pursuant to the court’s May 16, 2019 Order Granting Default Judgment, IT IS HEREBY

ORDERED, ADJUDGED, and DECREED that judgment be entered against Defendant European

Tanning d.b.a. European Tan and in favor of Plaintiff Trevor Kelley as follows:

      1. Defendant is ORDERED to remediate the following architectural barriers in its PPA as

         identified in the Complaint:

         a) Failure to provide accessible parking space identification signs 60 inches (1525 mm)

             above the finish floor or ground surface as required by 36 C.F.R Part 1191, Appendix

             D, Guideline 502.6;

         b) Failure to locate mirrors over lavatories and countertops with the bottom edge of the

             reflecting surface no greater than 40 inches (1015 mm) above the ground as required

             by 36 C.F.R Part 1191, Appendix D, Guideline 603.3;

         c) Failure to provide toilet flush controls on the open side of the water closet as required

             by 36 C.F.R Part 1191, Appendix D, Guideline 604.6.

      2. Defendant shall have 180 days to complete remediation.

      3. Defendant is to bear all costs associated with fulfilment of the Order.


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4. Consistent with the principles and guidelines in 36 C.F.R Part 1191 Appendix D,

   Defendant shall develop and adopt, within 60 days, policies and procedures that will cause

   Defendant to accommodate Plaintiff and any similarly situated individuals,

5. Plaintiff is awarded his costs and reasonable attorney’s fees in the amount of $3,150.00.

6. The judgment shall bear interest at the legal rate from this date until paid.

   SO ORDERED May 16, 2019.


                                          BY THE COURT:


                                          ________________________________
                                          HONORABLE JILL N. PARISH
                                          United States District Court Judge




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